Case 2:04-cv-02707-.]PI\/|-STA Document 11 Filed 05/25/05 Page 1 of 2 Page|D 17

 

IN THE UNITED STATES DISTRICT COURT Fii»E`l>‘ :,/0.;,¢
FoR THE WESTERN DISTRlcT 0F TENNESSEE

WESTERN DIVISION 03 H,&"f 255 PF‘-'§ 3: 14 h
ANTHONY E. RAYNOR )
Plaimiff, )
)

v. ) Civi] No. 4-2707' MI An

)
TENNESSEE AIR NATIONAL GUARD, )
ET AL., )
)
Defendant. )

 

ORDER GRANTING DEFENDANT’S MOTION TO STAY DISCOVERY

 

For the reasons Set forth in Defendant’S Memorandum, the court grants the Motion to

Stay Discovery.

SO ORDERED:

Thl`s the QJ,B day ofM, 2005.
/____.
§§ //§mm @J

S. THOMAS ANDERSON
MAGISTRATE JUDGE

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Honorable J on McCalla
US DISTRICT COURT

